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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KAREN A. ESCOBAR
   Assistant United States Attorney
 3 2500 Tulare St., Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4575
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                              CASE NO. Cr 1:12-cr-00325 AWI-
                                                            BAM
12                                 Plaintiff,
                                                            STIPULATION REGARDING
13                 v.                                       CONTINUANCE; ORDER
14   BOUNSEUTH THOURAKHONE,
15                                 Defendant.
16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for sentencing on Monday, July 8, 2013, at

21 10:00 a.m. before the Honorable Senior U.S. District Judge Anthony W. Ishii.

22          2.      By this stipulation, the parties agree to continue sentencing to July 29, 2013, at 10
23
     a.m. in order to effectuate the terms of the plea agreement.
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                           Case 1:12-cr-00325-AWI-BAM Document 59 Filed 07/03/13 Page 2 of 2


     IT IS SO STIPULATED.
 1
     DATED:                      July 3, 2013.    Respectfully submitted,
 2
                                                  BENJAMIN B. WAGNER
 3                                                United States Attorney
 4
                                                  /s/ Karen A. Escobar___________________
 5                                                KAREN A. ESCOBAR
                                                  Assistant United States Attorney
 6

 7 DATED:                        July 3, 2013.
 8                                                /s/ Marc Days
                                                  MARC DAYS
 9                                                Counsel for Defendant
10

11                                                       ORDER
12

13 IT IS SO ORDERED.

14
     Dated: July 3, 2013
15   DEAC_Signature-END:
                                                        SENIOR DISTRICT JUDGE

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